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                                      ORDERED.


     Dated: September 06, 2019




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 IN RE:                                                          CASE NO.: 8:19-bk-03877-MGW
                                                                                   CHAPTER 7
 Katheline Nunez,
        Debtor.
 _________________________________/

              ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

       THIS CASE came on consideration for hearing on August 22, 2019 at 9:30 AM on
Nationstar Mortgage LLC d/b/a Mr. Cooper’s (“Secured Creditor”) Motion for Relief from Stay
(Docket No. 7) and Trustee's Response (Docket No. 9). For the reasons stated orally on the
record, Accordingly, it is:

       ORDERED:
   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED, effective
       90-days from entry of this Order.
   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated after 90-days from entry of
       this Order as to the Secured Creditor’s interest in the following property located at 20728


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       Great Laurel Avenue Tampa, Florida 33647 in Hillsborough County, Florida, and legally
       described as:
       Lot 4 block 81 of Live Oak Preserve Phase 1C Villages 3/4/5/6, according to the plat
       thereof, as recorded in Plat Book 99, page 17, of the Public Records of Hillsborough
       County, Florida.

   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
       Creditor to exercise any and all in rem remedies against the property described above.
       Secured Creditor shall not seek an in personam judgment against Debtor(s).
   4. Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement,
       loan modification, refinance agreement or loan workout/loss mitigation agreement.
   5. The Secured Creditor’s request to waive the 14-day stay period pursuant to Bankruptcy
       Rule 4001(a)(3) is denied as moot.
   6. Attorneys’ fees in the amount of $345.00 and costs in the amount of $181.00 are awarded
       for the prosecution of this Motion for Relief from Stay, but are not recoverable from the
       Debtor(s) or the Debtor(s)’ Bankruptcy estate.


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Attorney, Christopher P. Salamone, is directed to serve a copy of this order on interested parties
and file a proof of service within 3 days of entry of the order.




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